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UN|TED STATES DlSTR|CT COURT
D!STR|CT OF CONNECTICUT

 

MlCHAEL ROGAN CIV!L ACT|ON

Piaintiff
V.
WELTMAN, WEINBERG & RElS CO., L.P.A.

Defendant
FEBRUARY 3, 2011

 

CONIPLA|NT

1. `ihis action is for violation of Fair Debt Col|ection Practices Act (“FDCPA”), 15
U.S.C. §§ 1692 et seq.

2. Plaintiff, l\/lichael Rogan, is a natural person residing in Berlin, Connecticut
and is a consumer as defined by the Fair Debt Co||ection Practices Act (“FDCPA”) 15
U.S.C. §1692a(3).

3. The defendant, Weitrnan, Weinberg & Reis Co., L.P.A.(“VVVV&R”), is a
Professional Corporation With a principal place of business in Ohio and is licensed by
the Connecticut Departrnent of Banking as a Consumer Co||ection Agency and is a debt
collector as defined by FDCPA § 1692a(6).

4. Jurisdiction in this Court is proper pursuant to 15 U.S.C. § 1692k(d) and 28
U.S.C. §§ 1331, 1367, and 1337.

5. This Court has jurisdiction over WVV&R because it engages in debt co|iection
Within Connecticut.

6. Venue in this Court is proper, because the Piaintiff is a resident and the acts

complained of occurred in this state

 

 

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7. Plaintiff owed a consumer debt (the “Debt”) that Was assigned to VVVV&R for
collection purposes.

8. VVVV&R began contacting Plaintiff in an attempt to coi|ect the Debt.

9. On or around December 29, 2010, \/VVV&R called Plaintitf’s home and left a
message on his home answering machine; that message faiied to state that the
communication was from a debt collector

10. On or around January 6, 2011, a WVV&R representative referring to herself
as Shannon called P|aintift"s home and left a message on his answering machine that
faiied to state it was a communication from a debt collector.

11. On or around January 8, 2011, a WVV&R representative referring to himseif
as Mr. l-iaynes cai|ed Piaintiff’s home and left a message on his answering machine that
faiied to state it was a communication from a debt coi|ector.

12. On or around January 10, 201 i, a VVVV&R representative referring to herseif
as Tina called P|aintift's home and left a message on his answering machine that failed
to state it was a communication from a debt co|iector.

13.VVVV&R violated the FDCPA.

VVHEREFORE, the P|aintifi seeks recovery of statutory damagesl attorney’s fees and
costs pursuant to 15 U.S.C. § 1692k.

PLA|NT!FF, MECHAEL ROGAN

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